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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )            CASE NO. 8:95CR133
                                             )
              Plaintiff,                     )
                                             )                    ORDER
              vs.                            )
                                             )
ALEJANDRO H. FLORES,                         )
                                             )
              Defendant.                     )

       This matter is before the Court on the Court’s own motion pursuant to Federal Rule

of Criminal Procedure 48(b)(3).

       The Defendant was charged in an Indictment filed on October 19, 1995 (Filing No.

9). He has never appeared. Almost eleven years have passed with no activity in this case

with respect to this Defendant. Therefore, the Court will require the government to show

cause why this case should not now be dismissed without prejudice for failure to prosecute.

In particular, the Court requires that the government address whether ongoing efforts are

being made to locate the Defendant, the continued availability of witnesses, and similar

related matters.

       IT IS ORDERED:

       1.     On or before July 7, 2006, the government shall file a pleading showing why

              this case should not be dismissed for failure to prosecute; and

       2.     If such a pleading is not timely filed, this case may be dismissed without

              further notice.

       DATED this 19th day of June, 2006.

                                                 BY THE COURT:

                                                 s/Laurie Smith Camp
                                                 United States District Judge
